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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION


DANIEL G. WRIGHT,

                Petitioner,

v.                                        Case No. 3:20-cv-777-J-39JBT

SECRETARY, FLORIDA DEPARTMENT
OF CORRECTIONS,

               Respondent.
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                                  ORDER

     Petitioner’s Motion for Leave to Exceed Memorandum of Law

Page Limit (Doc. 3) is GRANTED, and the Petition for Writ of Habeas

Corpus (Doc. 1) is ACCEPTED as filed.

     DONE AND ORDERED at Jacksonville, Florida, this 15th day of

July, 2020.




caw 7/15
c:
Counsel of Record
